             Case Case  21-911, Document 126,
                  1:20-cv-00112-TJM-DJS       07/26/2023,
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                            UNITED STATES COURT OF APPEALS
                                       FOR THE
                                    SECOND CIRCUIT
                                               _________________

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      26th day of July, two thousand twenty-three.

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       Christopher T. Slattery, a New York resident, and The
                                                                     STATEMENT OF COSTS
       Evergreen Association, Inc., a New York Nonprofit
       Corporation, Doing Business As Expectant Mother
       Care and EMC Frontline Pregnancy Centers,                     Docket No. 21-911

                    Plaintiffs - Appellants,

       v.

       Kathleen C. Hochul, in her official capacity as the
       Governor of the State of New York; Roberta Reardon,
       in her official capacity as the Commissioner of the
       Labor Department of the State of New York; and
       Letitia James, in her official capacity as the Attorney
       General of the State of New York,

                 Defendants - Appellees.
      ______________________________


             IT IS HEREBY ORDERED that costs are taxed in the amount of $1,078.00 in favor of
      the Appellants.


                                                           For the Court:

                                                           Catherine O’Hagan Wolfe,
                                                           Clerk of Court




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